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 4
     Attorney for Defendant,
 5   THURMAN MAXWELL
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )               No. CR S 07 0248 WBS
10                                       )
                 Plaintiff,              )               STIPULATION AND [PROPOSED]
11                                       )               ORDER CONTINUING
           v.                            )               SENTENCING DATE
12                                       )
     THURMAN MAXWELL,                    )
13                                       )
                 Defendant.              )
14   ____________________________________)
15          It is hereby stipulated by and between Tim Warriner, counsel for defendant Thurman
16   Maxwell, and Jason Hitt, Assistant United States Attorney, counsel for the government, that the
17   sentencing hearing now set for April 30, 2012 be vacated, and that judgment and sentencing be
18   set for June 4, 2012, at 9:30 a.m. The continuance is needed to afford both counsel additional
19   time to address matters concerning the presentence investigation report.
20
     Dated: April 26, 2012                /s/ Timothy E. Warriner, Attorney for Maxwell
21
     Dated: April 26, 2012                /s/ Jason Hitt, Assistant United States Attorney for
22                                        The Government
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             Case 2:07-cr-00248-WBS Document 1077 Filed 04/30/12 Page 2 of 2


 1                                               ORDER
 2          GOOD CAUSE APPEARING, and based on the foregoing stipulation of counsel, the
 3   April 30, 2012 sentencing date is vacated, and the matter is set for judgment and sentence to
 4   occur on June 4, 2012 at 9:30 a.m.
 5   DATED: April 27, 2012
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